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                         Exhibit 2


           PCLLP’s First Interim Fee Application
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  )     Chapter 11
                                                            )
    WARDMAN HOTEL OWNER, L.L.C., 1                          )     Case No. 21-10023 (JTD)
                                                            )
                              Debtor.                       )
                                                            )     Objection Deadline: June 4, 2021 at 4:00 p.m.

                               COVER PAGE TO:
             FIRST INTERIM APPLICATION OF PRYOR CASHMAN LLP
           FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES AS
      SPECIAL LITIGATION COUNSEL TO THE DEBTOR FOR THE PERIOD FROM
           JANUARY 12, 2021 THROUGH AND INCLUDING MARCH 31, 2021

    Name of Applicant:                                    Pryor Cashman LLP



    Authorized to Provide Professional                    Debtor
    Services to:
    Date of Retention:                                    Order entered on February 5, 2021 [D.I. 106],
                                                          retention effective as of January 11, 2021
    Period for which compensation and                     January 12, 2021 through March 31, 2021 (the
    Reimbursement is sought:                              “Application Period”)
    Total Amount of Compensation sought                   $84,219.50
    as actual, reasonable and necessary:
    80% of Compensation Sought as Actual,                 $67,375.60
    Reasonable and Necessary:
    Amount of Expense Reimbursement                       $15,089.07
    sought as actual, reasonable and necessary:

This is a(n)       X interim          monthly           final fee application.




1      The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is
       5035 Riverview Road, NW, Atlanta, GA 30327.
                                                           1
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     SUMMARY OF FIRST APPLICATION OF PRYOR CASHMAN LLP FOR
   ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
    PURSUANT TO SECTION 330 OF THE BANKRUPTCY CODE, AS SPECIAL
               LITIGATION COUNSEL FOR THE DEBTOR

                                  Fees by Professional
                               (through March 31, 2021)

                                                       Hourly      Total     Total
        Name               Position/ Experience
                                                        Rate      Hours Compensation
Todd E. Soloway        Partner,                       $1200.00    19.5   $23,400.00
                       Admitted in New York in 1992
                       Admitted in New Jersey in 1992
Seth H. Lieberman      Partner,                       $795.00     1       $795.00
                       Admitted in New York in 2005
                       Admitted in New Jersey in 2004
Bryan T. Mohler        Partner,                       $720.00     53.50   $38,520.00
                       Admitted in New York in 2008.
Matthew S. Barkan      Counsel,                       $665.00     3       $1,995.00
                       Admitted in New York in 2011
Itai Y. Raz            Associate,                     $515.00     33.20   $17,098.00
                       Admitted in New York in 2018
Alexandra Nasar        Associate,                     $455.00     5.30    $2,411.50
                       Admission in New York
                       pending
Total                                                 $729.17     115.5   $84,219.50
                                                      (Blended
                                                      Hourly
                                                      Rate)




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                       COMPENSATION BY PROJECT CATEGORY

      Project Category                    Total Hours                  Total Fees
Litigation                                              115.50                    $84,219.50
TOTALS                                                  115.50                    $84,219.50




                                 EXPENSE SUMMARY

                       Expense Category                                 Amount
Copies                                                                                 $4.14
Telephone Charges                                                                   $299.09
Research Charges                                                                  $10,426.12
Electronic Discovery                                                               $4,356.82
US Court Docket Expense                                                                $2.90
TOTAL                                                                             $15,089.07




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  )     Chapter 11
                                                            )
    WARDMAN HOTEL OWNER, L.L.C., 1                          )     Case No. 21-10023 (JTD)
                                                            )
                             Debtor.                        )
                                                            )
                                                                 Objection Deadline: June 4, 2021 at 4:00 p.m.


FIRST INTERIM APPLICATION OF PRYOR CASHMAN LLP FOR ALLOWANCE OF
    COMPENSATION AND REIMBURSEMENT OF EXPENSES PURSUANT TO
          SECTION 330 OF THE BANKRUPTCY CODE, AS SPECIAL
                LITIGATION COUNSEL FOR THE DEBTOR

             Pryor Cashman LLP (“PCLLP”), as special litigation counsel for Wardman Hotel Owner,

L.L.C. (the “Debtor”), in the above-captioned chapter 11 case (the “Chapter 11 Case”),

respectfully submits this first interim application (“Application”), pursuant to section 330 of title

11 of the United States Code (the “Bankruptcy Code”), for allowance of (i) compensation for

professional services rendered to the Debtor and (ii) for reimbursement of actual and necessary

costs and expenses incurred in connection with PCLLP’s representation of the Debtor as its special

litigation counsel in this Chapter 11 Case from January 12, 2021 through March 31, 2021 (the

“Application Period”). PCLLP respectfully represents as follows:

                                       JURISDICTION AND VENUE

             1.    This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

1334. Venue of this case is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought herein is sections 330 and 331 of the Bankruptcy Code,


1      The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is
       5035 Riverview Road, NW, Atlanta, GA 30327.
               Case 21-10023-JTD        Doc 401-3      Filed 12/27/21      Page 6 of 20




rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure and Local Rule 2016-2 (the

“Bankruptcy Rules”).

                                          BACKGROUND

          2.    On January 11, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. The Debtor is managing its properties as debtor

in possession pursuant to Bankruptcy Code sections 1107(a) and 1108. No trustee or examiner

has been appointed in the Debtor’s chapter 11 case, and no committees have been appointed or

designated.

          3.    The factual background regarding the Debtor, including its historical business

operations and the events precipitating the chapter 11 filing, is set forth in detail in the Declaration

of James D. Decker in Support of Debtor’s Chapter 11 Petition and First Day Motions [Docket

No. 2].

                               PROFESSIONAL FEE MATTERS

          4.    On January 19, 2021, the Debtor filed its application to employ PCLLP as special

litigation counsel for the Debtor (the “PCLLP Retention Application”) [Docket No. 49]. The

PCLLP Retention Application was granted by order of the Bankruptcy Court dated February 5,

2021 nunc pro tunc to January 11, 2021 [Docket No. 106].

          5.    By this Application, PCLLP respectfully seeks an order of this Court, pursuant to

Bankruptcy Code sections 330, allowing PCLLP, the sum of (i) $84,219.50 for professional fees

recorded through March 31, 2021 as compensation for services rendered during the Application

Period (80% of which is $67,375.60), and (ii) the sum of $15,089.07 for disbursements recorded

through March 31, 2021 as reimbursement of expenses incurred during the Application Period,

and (c) authorizing and directing the Debtor to pay PCLLP such allowed amounts.

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       6.      PCLLP has not sought or received payment of any compensation for services

rendered or reimbursement of expenses since the Petition Date.

       7.      All services performed and expenses incurred by PCLLP for which compensation

and reimbursement are requested hereby were actually performed or incurred for and on behalf of

the Debtor, were necessary, and were beneficial to the Debtor’s estate.

       8.      The services rendered by PCLLP during the Application Period as special litigation

counsel are summarized below. Specifically, PCLLP rendered the following services during the

Application Period as counsel to the Debtor:

               a.      PCLLP spent the majority of its time representing and advising the Debtor

on issues related to the transition of the Debtor’s asset, the property formerly known as Washington

Marriott Wardman Park Hotel (the “Property”), from a Marriott-branded property to a non-branded

property following the Debtor’s termination of the hotel management agreement (“HMA”) with

Marriott Hotel Services, Inc. (“Marriott”). This included issues related to negotiations of an

orderly transition, the removal of third-party property from the Property, , and dealings of various

issues with Marriott related to the Maryland Proceedings (as defined below).

               b.      PCLLP also spent time attending to issues related to the lawsuit brought by

Marriott against the Debtor in the Circuit Court for Montgomery County, Maryland entitled

Marriott Hotel Services, Inc. v. Wardman Hotel Owner, L.L.C., et al., Case No. 483406-V, and

the related appeal in the Maryland Court of Special Appeals, Case No. CSA-REG-1150-2020

(collectively, the “Maryland Proceedings”). This included issues related to discovery, and the

staying of the Maryland Proceedings.

               c.      PCLLP also spent time attending to issues related to this proceeding,

including its retention application, and attending proceedings held before this Court.

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       9.      Attached hereto as Exhibit A is PCLLP’s billing detail for the Application Period

providing: (i) the name of the attorney or paraprofessional performing the services and their billing

rate; (ii) the date the services were performed; (iii) a description of the services performed; (iv) the

amount of time expended; and (v) the fees incurred.

                                   SUMMARY OF EXPENSES

       10.     During the Application Period, PCLLP incurred or disbursed actual and necessary

costs and expenses related to this case in the aggregate amount of $15,089.07. The expenses

incurred include, among other things, computerized legal research, electronic discovery, and

photocopier charges. A description of the necessary costs and expenses incurred by PCLLP is

attached hereto as part of Exhibit A.

       11.     Pursuant to Rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure,

PCLLP represents as follows with regard to its charges for actual and necessary costs and expenses

incurred during the Application Period:

               a.       Charges for copies are $0.46 per page, which charges are reasonable and

       customary in the legal industry and represents the costs of copy material, acquisition,

       maintenance, storage and operation of copy machines, together with a margin for recovery

       of related expenditures;

               b.       All other expenses are billed at actual costs and rates determined by the

       service providers—they are not “profit centers” for PCLLP.

                                  STATEMENT FROM PCLLP

       12.     Pursuant to the Appendix B Guidelines for Reviewing Application for

Compensation and Reimbursement of Expenses Filed Under United States Code by Attorneys in

Larger Chapter 11 Cases, PCLLP responds to the following questions regarding the Application:

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 Question                                                              Yes   No      Additional Explanation
                                                                                     or Clarification
 Did you agree to any variations from, or alternatives to, your              X
 standard or customary billing rates, fees or terms for services
 pertaining to this engagement that were provided during the
 application period? If so, please explain.
 If the fees sought in this fee application as compared to the fees                  N/A
 budgeted for the time period covered by this fee application
 higher by 10% or more, did you discuss the reasons for the
 variation with the client?
 Have any of the professionals included in this fee application              X
 varied their hourly rate based on the geographic location of the
 bankruptcy case?
 Does the fee application include time or fees related to                    X
 reviewing or revising time records or preparing, reviewing, or
 revising invoices?
 Does this fee application include time or fees for reviewing          X             1.5 hours
 time records to redact any privileged or other confidential
 information? If so, please quantify by hours and fees.
 If the fee application includes any rate increases since retention                  N/A
 in this case:
      i.        Did your client review and approve those rate
                increases in advance?
      ii.       Did your client agree when retaining the law firm
                to accept all future rate increases? If not, did you
                inform your client that they need not agree to
                modified rates or terms in order to have you
                continue the representation, consistent with ABA
                Formal Ethics Opinion 11-458?



                 DECLARATION PURSUANT TO BANKRUPTCY RULE 2016

        13.       No agreement or understanding exists between the Debtor and any other person, or

PCLLP and any other person, for a division of compensation received or to be received for services

rendered in or in connection with this Chapter 11 Case.

        14.       No agreement or understanding prohibited by 18 U.S.C. § 155 has been or will be

made by PCLLP. The services covered by were performed for and solely on behalf of the Debtor.

                    REPRESENTATIONS AND RESERVATION OF RIGHTS

        15.       In accordance with the factors enumerated in Section 330 of the Bankruptcy Code,

the amounts requested herein for compensation and expense reimbursement are fair and reasonable

given (a) the complexity of these cases, (b) the time expended by the attorneys and
                                          5
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paraprofessionals at PCLLP, (c) the nature and extent of the services rendered, (d) the value of

such services, and (e) the costs of comparable services other than in a case under this title.

       16.       The undersigned has reviewed the requirements of Local Bankruptcy Rule 2016-2

and hereby attests that this Application conforms to such requirements.

       17.       Although every effort has been made to include all fees and expenses incurred in

the Application Period, some fees and expenses might not be included in this Application due to

delays caused by accounting and processing during the Application Period. PCLLP reserves the

right to make further applications to this Court for allowance of such fees and expenses not

included herein. Subsequent fee applications will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, the Local Bankruptcy Rules and the Interim Compensation Order.

                             NOTICE AND PRIOR APPLICATION

       18.       Notice of this Application has been provided in accordance with the Interim

Compensation Order. PCLLP submits that the foregoing constitutes good and sufficient notice

and that no other or further notice need be provided.

       19.       No previous application for the relief sought herein has been made to this or any

other court.

       WHEREFORE, PCLLP respectfully requests approval of $84,219.50 as the total

compensation for professional services rendered during the Application Period, 80% of which

$67,375.60 is to be paid upon the filing of a certificate of no objection, and the sum of $15,089.07




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for reimbursement of actual and necessary costs and expenses incurred by PCLLP during the

Application Period in this case from January 12, 2021 through March 31, 2021.


Dated: New York, New York
       May 14, 2021

                                                  PRYOR CASHMAN LLP


                                                  By: /s/ Todd E. Soloway
                                                         Todd E. Soloway
                                                         Bryan T. Mohler
                                                         Itai Y. Raz
                                                  7 Times Square
                                                  New York, NY 10036
                                                  (212) 421-4100

                                                  Special Litigation Counsel for the Debtor




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                         Exhibit A
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                                                                                                                  May 10, 2021
                                                                                                        Invoice Number: 485584
James Decker
c/o JDecker & Company
5035 Riverview Road, NW
Atlanta, GA 30327
jim@jdeckerco.com




RE: 29441.00001               Marriott Wardman Park Dispute



For professional services rendered through March 31, 2021:

         Total Fees                                                                $84,219.50

         Total Disbursements                                                       $15,089.07

                              TOTAL THIS INVOICE                                   $99,308.57




For billing inquiries please email: billing@pryorcashman.com                              Federal Tax Identification Number:



All amounts are expressed in United States Dollars. To ensure proper credit to the above account, please indicate invoice
no. ******. Details of invoices being paid can be emailed to: receipts@pryorcashman.com.

Wire and ACH funds accepted:                                              Remittance Address (If paid by check)
Bank Name:                              .                                 Pryor Cashman LLP
Address:                                                                  7 Times Square
Account Name:                                                             New York, NY 10036
ABA Number:                                                               Attention: Accounting Department
Account Number:
Swift Code:                                                               (Please return remittance page with check)
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Pryor Cashman LLP                                                                                                         Page 2
29441: Wardman Hotel Owner, LLC                                                                           Invoice Number: 485584
00001: Marriott Wardman Park Dispute                                                                         as of March 31, 2021



                                               Description Of Services Rendered

Date       Initials    Description                                                                           Hours       Amount

01/12/21     BTM       Attend to transition issues. (1.0)                                                     1.00        720.00

01/12/21     IYR       Additional preparation for potential opp to transition (2.5).                          2.50      1,287.50

01/12/21    MSB        Prepare for potential opposition to transition (2.5);                                  3.00      1,995.00
                       correspond with I. Raz and
                       B. Mohler re: same (.5).

01/13/21     TES       Prepare (4.7) for and attend first day hearings (1).                                   5.70      6,840.00

01/13/21     BTM       Review Marriott bankruptcy filings (1.2), confer w/ client, bankruptcy counsel,        5.50      3,960.00
                       TES re Delaware appearance (1.3); prepare correspondence w/
                       Marriott re removal of Marriott property from the premises (2.0);
                       Delaware bankruptcy appearance (1.0).

01/13/21     SHL       Telephone conferences and email communications with B. Mohler                          0.50        397.50
                       re: bankruptcy overview and motion to dismiss analysis. (.5)

01/13/21     IYR       Emails re issues at property (.5). Begin review of Marriott's filing in                4.50      2,317.50
                       Bankruptcy (1.3). Call with wider group regarding Bankruptcy hearing (.7).
                       Pull PI hearing transcript cites per T. Soloway (1). Attend Bankruptcy Hearing (1).

01/13/21      AN       Drafting responses and objections to Second Request for Production of                  1.80        819.00
                       Documents (1.8).

01/14/21     IYR       Discuss case updates with A. Nasar (.2). Attend to issues related to                   0.50        257.50
                       special litigation counsel application filing (.3).

01/14/21      AN       Drafting responses and objections to Second Request for Production of                  3.50      1,592.50
                       Documents (3.3); call w/ Iraz (.2)

01/14/21     BTM       Attention to property transition issues (.8), confer w/ clients group,                 1.80      1,296.00
                       Pachulski re same (.5); prepare corres. to Marriott counsel re same (.5).

01/15/21     IYR       Call with B. Mohler to discuss bankruptcy action filings (.4). Continue                1.30        669.50
                       working on application for special legal counsel (.9).

01/15/21     BTM       Attention to Marriott filings in MD court, automatic stay issues (.7), confer w/       1.50      1,080.00
                       Pachulski re same (.4); confer w/ IR re special counsel retention (.4).

01/16/21     BTM       Review Marriott letter motion re answer to counterclaims (.2), confer                  0.50        360.00
                       w/ clients, Pachulski re same (.3).

01/19/21     TES       Edit/revise affidavit re: application for retention (.8).                              0.80        960.00

01/19/21     IYR       Work on special litigation counsel application (1). Call w/B. Mohler                   1.50        772.50
                       to discuss (.2). Call with Bankruptcy counsel to discuss (.3).
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Pryor Cashman LLP                                                                                                       Page 3
29441: Wardman Hotel Owner, LLC                                                                          Invoice Number 485584
00001: Marriott Wardman Park Dispute                                                                        as of March 31, 2021



Date       Initials    Description                                                                       Hours         Amount

01/19/21     BTM       Confer w/ clients, Pachulski re MD stay, attention to same (.8); review              2.70       1,944.00
                       special counsel motion, revise same (1.5).

01/20/21     TES       Review discovery demands (.4) and confer w/team re: State Court case (1.1).          1.50       1,800.00

01/20/21     IYR       Emails and call with Bankruptcy counsel re discovery issues (.5).                    0.50         257.50

01/21/21     TES       Attend to issues related to group contracts and bk (1.3); review                     1.70       2,040.00
                       discovery demands (.4).

01/21/21     BTM       Confer w/ clients re Marriott request for group contracts (.6), review               1.00         720.00
                       bankruptcy discovery (.4).

01/21/21     IYR       Begin reviewing and editing draft responses and objections to requests for           0.50         257.50
                       productions (.5).

01/22/21     IYR       Continue reviewing and editing draft responses and objections to requests            1.70         875.50
                       for productions, same for interrogatories, in bankruptcy action (1.5).
                       Marriott letter re NOT (.2).

01/22/21     BTM       Review Marriott letter re notice of termination (.2); review draft                   1.20         864.00
                       responses to discovery served in DE bankruptcy proceeding (1.0).

01/25/21     IYR       Call with team to discuss termination notice, case status, updated issues (.3).      0.50         257.50
                       Discuss bankruptcy discovery issues with B. Mohler (.2).

01/25/21     BTM       Attend to labor and termination issues (.6); Attend to discovery issues (.2).        0.80         576.00

01/26/21     IYR       Review Marriott's motion to transfer (.5).                                           0.50         257.50

01/27/21     IYR       Review Marriott's motion for stay relief (.6). Team call to discuss (.2).            2.50       1,287.50
                       Call with wider client/legal group (.5). Attend to group bookings issue
                       (.5). Attend to Marriott’s rejection of termination notice (.7).

01/27/21     BTM       Attend to Marriott’s rejection of NOT (.6); attend to group contracts issue          2.20       1,584.00
                       (.6); attend to Marriott motion to change venue, group contracts,
                       and motion to use FFE reserve (1.0).




01/28/21     IYR       Edits to letter to Marriott (.2).                                                    0.20         103.00

01/28/21     BTM       Review Decker deposition transcript (.3); attend to Marriott group                   1.00         720.00
                       contracts issues (.4), confer w/ Marriott counsel re property
                       logistical issues (.3).

01/29/21     IYR       Review letter to Union (.3)                                                          0.30         154.50

01/29/21     BTM       Confer w/ client, Marriott counsel, HAVE re property operational issues. (.8)        0.80         576.00
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Pryor Cashman LLP                                                                                                         Page 4
29441: Wardman Hotel Owner, LLC                                                                           Invoice Number: 485584
00001: Marriott Wardman Park Dispute                                                                          as of March 31, 2021



Date       Initials    Description                                                                        Hours          Amount

01/30/21     IYR       Review opp to venue change motion (.3). Discuss issues related to                    0.70          360.50
                       Maryland proceedings with Bankruptcy counsel (.4).

02/01/21     BTM       Confer w/ clients, Pachulski, IR re stay of MD action. (.5)                          0.50          360.00

02/01/21     IYR       Discuss issues related to Maryland discovery with Bankruptcy counsel,                0.30          154.50
                       Maryland local counsel. (.3)

02/02/21     IYR       Attend to issues related to Maryland State action (.2);                              0.50          257.50
                       Review draft opp to recoupment motion, discuss same with team (.2).
                       Case management (.1).

02/03/21     SHL       Email communications and conference calls with I. Raz and B. Mohler                  0.50          397.50
                       re: retention application inquiries, scope of engagement and 327(e)
                       applicability to same. (.5)

02/03/21     TES       Confer re: court appearance (.5)                                                     0.50          600.00

02/03/21     IYR       Attend to issues related to Maryland State action (.2); Prepare responses US         2.50         1,287.50
                       to US special litigation counsel application (1.3). Discuss with B.
                       Trustee
                       Mohler and bankruptcy counsel (.4). Review and edit supplemental
                       submission for special litigation counsel application (.6).

02/03/21     BTM       Prepare responses to UST informal questions concerning retention                     1.80         1,296.00
                       application (1.3); revise supplemental declarations in support of retention
                       application (.5).

02/04/21     TES       Tc opposing counsel re: operational issues and tc client re: same (.3);              0.80          960.00
                       confer with BMohler re: operational issues (.5)

02/04/21     IYR       Attend to issues related to supplemental special litigation counsel                  0.70          360.50
                       submission.
                       submission. (.7)

02/04/21     BTM       Confer w/ Marriott counsel, clients re operations issues, group contracts. (1.7)     1.70         1,224.00

02/05/21     IYR       Discuss upcoming court hearing with team (.2). Discuss issue of stay with            0.30          154.50
                       Maryland counsel (.1).

02/07/21     BTM       Attention to removal of personalty from property (.5).                               0.50          360.00

02/07/21     BTM       Review Waldeck, Decker, Paulsen deposition transcripts (3.2).                        3.20         2,304.00

02/09/21     BTM       Second day DE hearing (1.0); attention to group contracts, strategy re               1.80         1,296.00
                       same (.8).

02/09/21     IYR       Prep for and attend Court hearing (1.3). Debrief of hearing with team                2.50         1,287.50
                       (.5). Call with group (.7).

02/10/21     IYR       Case management (.1). Attend court hearing (.4).                                     0.50          257.50
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Pryor Cashman LLP                                                                                                     Page 5
29441: Wardman Hotel Owner, LLC                                                                       Invoice Number 485584
00001: Marriott Wardman Park Dispute                                                                     as of March 31, 2021



Date       Initials Description                                                                       Hours         Amount

02/11/21 BTM        Analyze MD state court proceeding, impact of bankruptcy stay (.6),                   1.50       1,080.00
                    conduct research re same (.9).

02/12/21 BTM        Attention to MD state court proceedings (.7); analyze group contract                 1.70       1,224.00
                    strategy (1.0).

02/15/21 IYR        Review findings regarding group contracts (.3)                                       0.30         154.50

02/16/21 BTM        Review summary of group contracts, select group contracts (.5); attention            2.00       1,440.00
                    to strategy for group contracts, valuation of same (1.5).

02/16/21 TES        Review summary of group contracts, select group contracts (.5); attention            2.00       2,400.00
                    to strategy for same; tc client group (1.5).

02/16/21 TES        Confer with client and co-counsel re: group contracts (.5)                           0.50         600.00

02/17/21 TES        Prepare for (.2) and conduct conference call with clients and co-counsel to          1.80       2,160.00
                    discuss group contracts and litigation strategy (1.1); call with client and co-
                    counsel re: discussions with opposing counsel (..5)

02/17/21 IYR        Case management (.2)                                                                 0.20         103.00

02/17/21 BTM        Review group contracts negotiation history, prepare memo re same (2.2);              4.00       2,880.00
                    attention to strategy re group contracts (1.8).

02/18/21 TES        Review motion to remove made by lender (.5); confer with co-counsel                  0.70         840.00
                    re: same (.2)

02/18/21 IYR        Review PacLife's motion to remove to federal bankruptcy court (.2)                   0.20         103.00

02/18/21 BTM        Review, attend to correspondence re property third-party vendors (.5).               0.50         360.00

02/19/21 IYR        Review Marriott's answer to Counterclaims (.2). Call with Maryland                   0.30         154.50
                    counsel to discuss directive Maryland State Court litigation issues (.1).

02/19/21 BTM        Attention to global settlement discussions (.7); attention to MD state court         1.50       1,080.00
                    conference, review of pleadings re same (.8).

02/22/21 BTM        Analyze issues re removal of 3d party items from property, requests from             1.30         936.00
                    third-party vendors (1.3).

02/23/21 BTM        Attention to vendor, third-party lessee correspondence (.4); attention to            0.50         360.00
                    Marriott former employees correspondence (.1).

02/24/21 TES        Tc client group re: contracts etc. (.5)                                              0.50         600.00

02/25/21 BTM        Attention to on-property vendor correspondence, draft release agreements             0.70         504.00
                    re same (.7).

02/26/21 BTM        Analyze group contracts, Marriott terminations (.5); analyze                         1.00         720.00
                    vendor contracts, prepare releases (.5).
                      Case 21-10023-JTD            Doc 401-3        Filed 12/27/21        Page 18 of 20
Pryor Cashman LLP                                                                                                       Page 6
29441: Wardman Hotel Owner, LLC                                                                         Invoice Number: 485584
00001: Marriott Wardman Park Dispute                                                                        as of March 31, 2021



Date       Initials    Description                                                                      Hours          Amount

02/26/21    TES        Confer with BM re: group contracts (.5)                                            0.50          600.00

03/02/21    BTM        Review group cancellation letter (.1), analyze same (.2), confer w/ clients re     0.50          360.00
                       same (.2).
                       same

03/08/21    IYR        Review documents filed in relation to notice of removal (.3)                       0.30          154.50

03/09/21    BTM        Review D. Md. pleadings/orders, analyze same (.8).                                 0.80          576.00

03/09/21    IYR        Review and discuss updates, next steps in Maryland bankruptcy                      1.00          515.00
                       action, with B. Mohler. (1)

03/09/21    TES        Review motions to change venue (.3); confer with client re: same (.1);             0.50          600.00
                       review docket re: status (.1).

03/10/21    BTM       Attend to property contracts issues (.5); analysis of MD litigation                 1.20          864.00
                      legal strategy, venue transfer to DE bankruptcy court (.7).

03/10/21    IYR        Call with group to discuss Maryland case status and updates (.7).                  0.70          360.50

03/10/21    TES        Call with client group to discuss status of case and venue issues and              0.50          600.00
                       group contracts (.5)

03/13/21    BTM        Attention to property vendor issues and requests (.3).                             0.30          216.00

03/15/21    BTM        Attention to property vendor issues (.3); confer w/                                0.80          576.00
                       PacLife counsel re proposed consent order resolving Pacific Life's Motion
                       to Transfer Venue (.5).

03/16/21    BTM        Review and discuss operative agreements w/co-counsel (1.2)                         1.20          864.00

03/18/21    BTM        Attention to property vendor issues (.2)                                           0.20          144.00

03/19/21    IYR        Case management (.3)                                                               0.30          154.50

03/22/21    BTM        Attention to property vendor issues (.3)                                           0.30          216.00


03/24/21    IYR        Discuss fee application with co-counsel, team (.2). Attend to issues               0.50          257.50
                       related to fee application (.3).

03/26/21    IYR        Attend to fee application (2.7)                                                    2.70        1,390.50

03/26/21    BTM        Prepare for 2004 discovery hearing, confer w/ IR re same (.8).                     0.80          576.00

03/29/21    BTM        DE bankruptcy court conference re Marriott 2004 discovery motion                   2.20        1,584.00
                       (1.5); confer w/ client, co-counsel re litigation strategy (.7).

03/29/21    TES        Prepare for and attend court appearance on argument for discovery against          1.50        1,800.00
                       HotelAve and other non-parties (1.5)

03/29/21    IYR        Attend to fee application (.2). Court conference (1.3)                             1.50          772.50
                       Case 21-10023-JTD            Doc 401-3         Filed 12/27/21     Page 19 of 20
Pryor Cashman LLP                                                                                                     Page 7
29441: Wardman Hotel Owner, LLC                                                                      Invoice Number: 485584
00001: Marriott Wardman Park Dispute                                                                     as of March 31, 2021



Date        Initials    Description                                                                    Hours         Amount

03/31/21       BTM      Confer with team re challenge period, abstention motion, legal                   1.00         720.00
                        strategy (1.0)

03/31/21       IYR      Discuss matter updates with team (.2)                                            0.20         103.00

                        Total Services Rendered                                                       115.50      $84,219.50




                                                      Summary of Services

Name                                                        Title                           Hours    Bill Rate       Amount
S. H. Lieberman                                             Partner                          1.00     795.00          795.00
B. T. Mohler                                                Partner                         53.50     720.00       38,520.00
T.E. Soloway                                                Partner                         19.50   1,200.00       23,400.00
A. Nasar                                                    Associate                        5.30     455.00        2,411.50
I. Y. Raz                                                   Associate                       33.20     515.00       17,098.00
M. S. Barkan                                                Counsel                          3.00     665.00        1,995.00
Total Services Rendered                                                                    115.50                 $84,219.50




                                                 Description of Disbursements

                  Description                                                                          Amount
                  Telephone Expense                                                                     299.09
                  Electronic Discovery                                                                4,356.82
                  Computerized Legal Research                                                        10,426.12
                  US Court Docket Expense                                                                  2.90
                  Reproduction                                                                             4.14
                  Total Disbursements                                                               $15,089.07


TOTAL CURRENT FEES AND DISBURSEMENTS                                                                              $99,308.57
                        Case 21-10023-JTD                 Doc 401-3   Filed 12/27/21    Page 20 of 20




                                                                                                                  May 10, 2021
                                                                                                        Invoice Number: 485584
James Decker
c/o JDecker & Company
5035 Riverview Road, NW
Atlanta, GA 30327
jim@jdeckerco.com




RE: 29441.00001                Marriott Wardman Park Dispute



For professional services rendered through March 31, 2021:

          Total Fees                                                               $84,219.50

          Total Disbursements                                                      $15,089.07

                              TOTAL THIS INVOICE                                   $99,308.57




For billing inquiries please email: billing@pryorcashman.com                              Federal Tax Identification Number:



All amounts are expressed in United States Dollars. To ensure proper credit to the above account, please indicate invoice
no. ******. Details of invoices being paid can be emailed to: receipts@pryorcashman.com.

Wire and ACH funds accepted:                                              Remittance Address (If paid by check)
Bank Name:                                                                Pryor Cashman LLP
Address:                                                                  7 Times Square
Account Name:                                                             New York, NY 10036
ABA Number:                                                               Attention: Accounting Department
Account Number:
Swift Code:                                                               (Please return remittance page with check)
